     3:99-cr-00341-MBS         Date Filed 10/06/21       Entry Number 428         Page 1 of 6




                         IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF SOUTH CAROLINA

United States of America            )
                                    ) Cr. No. 3:99-341
      vs.                           )
                                    )
Michael Harriot,                    )      ORDER AND OPINION
                                    )
                  Defendant.        )
____________________________________)

       On July 19, 2000, a third superseding indictment charged Defendant Michael Harriot with

conspiracy to possess with intent to distribute and to distribute 100 kilograms or more of marijuana,

5 kilograms or more of cocaine, and 50 grams or more of cocaine base, in violation of 21 U.S.C. §

846 (Count One); use of a person under 18 years of age to aid in the distribution and possession with

intent to distribute quantities of marijuana, cocaine, and cocaine base, in violation of 21 U.S.C. §§

841(a)(1) and 861(a)(1) (Count Two); and reentry of an alien after being removed on or about

December 29, 1998, without the express consent of the Attorney General, in violation of 8 U.S.C.

§ 1326(a). Defendant was found guilty on all counts by a jury on December 1, 2000. A special jury

verdict provided that the jury found Defendant guilty of at least 100 kilograms or more of marijuana,

at least 5 kilograms of more of cocaine, and at least 50 grams or more of cocaine base.

       A presentence investigation report (“PSR”) was prepared by the United States Probation

Office (“USPO”) that attributed to Defendant 800 grams of marijuana plus 4,422.60 grams of

cocaine base, for a total marijuana equivalent of 89,255 kilograms. Defendant had two criminal

history points. He received a two-level increase for being on probation at the time of the offense,

plus an additional one-point increase for committing the instant offense within two years following

his release from custody on November 29, 1993. Defendant’s total criminal history points were 5,
        3:99-cr-00341-MBS        Date Filed 10/06/21     Entry Number 428         Page 2 of 6




for a criminal history category of III.

          The USPO grouped Counts One and Two. Defendant’s base offense level was 38. He

received a 2-level increase under U.S.S.G. § 2D1.1(b)(1) for possessing a dangerous weapon, plus

a 4- level increase under U.S.S.G. § 3B1.1(a) for being an organizer, or leader of a criminal activity

that involved 5 or more participants; plus a 2-level increase for using persons less than 18 years of

age to distribute illegal narcotics. Defendant also received a 2-level increase for obstruction of

justice because he attempted to escape from the Lexington, South Carolina, Detention Center on

August 3, 1999, while detained for the instant offense. Defendant’s adjusted offense level became

48. As to Count Three, Defendant’s offense level was 8, plus a 4-level increase because the

conviction for which Defendant was deported was for a felony, for an adjusted offense level of 12.

After grouping the counts, Defendant’s offense level as to all three counts was 48. His sentencing

guidelines range for offense level 43 (the highest available range) and a criminal history category of

III was life imprisonment.

          Defendant’s statutory sentence under 21 U.S.C. § 841(b)(1)(A) for Count One was 20 years

to life imprisonment because he had a prior drug offense. His maximum statutory sentence under

21 U.S.C. § 861(a)(1) for Count Two was 5 years imprisonment, and statutory maximum sentence

under 8 U.S.C. § 1326 for Count Three was 2 years. On April 30, 2001, Defendant was sentenced

under the mandatory, pre-Booker1 sentencing guidelines to incarceration for a period of life,

consisting of life as to Count One, 60 months as to Count Two, and 24 months as to Count Three,

to be served concurrently, to be followed by a term of supervised release for a term of 10 years,

consisting of 10 years as to Count One, 3 years as to Count Two, and 1 year as to Count 3, to be


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    Booker v. United States, 543 U.S. 220, 245 (2005).

                                                  2
      3:99-cr-00341-MBS          Date Filed 10/06/21        Entry Number 428          Page 3 of 6




served concurrently. Defendant has been in custody since July 24, 1999.

         This matter is before the court on Defendant’s motion to reduce sentence under the First Step

Act of 2018, which motion was filed by Defendant, proceeding pro se, on June 27, 2019. On

December 4, 2019, the court denied Defendant’s motion to reduce sentence on the grounds that 21

U.S.C. § 841(b)(1)(A) still applied to Defendant’s cocaine offense, which resulted in a mandatory

life sentence. Defendant filed a motion for reconsideration on December 12, 2019. On June 17,

2020, the court issued an order in which it noted that Defendant had been convicted of a “covered

offense” under the First Step Act, but that the statutory penalties for 5 kilograms or more of cocaine,

as found by the jury, had not changed. Further, the court noted that, even if it were to rely on the

drug amount for cocaine base set forth in the PSR, Defendant’s guidelines range would remain at

life imprisonment.

         On December 17, 2020, the Court of Appeals for the Fourth Circuit issued an opinion in

which it held the court had correctly determined that Defendant’s sentencing range remained life

imprisonment but found that the court neglected to consider the factors set forth in United States v.

Gravatt, 953 F.3d 258 (4th Cir. 2020), and that the court had not considered that Defendant was

sentenced when the sentencing guidelines were mandatory, and they are now advisory. Thus, the

Fourth Circuit remanded for further proceedings. United States v. Harriot, 831 F. App’x 92 (4th Cir.

2020).

         The USPO filed an amended sentence reduction report on January 20, 2021. Using current

calculations, Defendant is attributed 16,596.1 kilograms of marijuana equivalent (4,422. His base

offense level is 34, plus a 2-level increase for possession of a dangerous weapon, a 4-level increase

for his role in the offense, a 2-level increase for use of a minor, and a 2-level increase for obstruction


                                                    3
     3:99-cr-00341-MBS          Date Filed 10/06/21       Entry Number 428         Page 4 of 6




of justice, for a total offense level of 44. A level 43 (the highest available level) and a criminal

history category of III yields an unchanged guidelines range of life in prison.

       Defendant, through counsel, filed a supplemental motion to reduce sentence on April 20,

2021. Defendant requests that the court impose a reduced sentence in light of the 18 U.S.C. §

3553(a) factors, sentencing guidelines changes, as well as Defendant’s post-sentencing rehabilitation.

The government filed a response in opposition on August 4, 2021. The government contends that

an evaluation of the nature and circumstances of the offense do not weigh in favor of release.

Defendant filed a reply on August 12, 2021, asking the court to sentence him to time served, or to

apply a 1:1 variance and to give him a determinate sentence of 30 years or less.

                                           DISCUSSION

       The issue presented on remand is whether Defendant’s sentence should be reduced because

of the § 3553(a) factors and the advisory nature of the current sentencing guidelines. In United

States v. Wirsing, 943 F.3d 175, 184 (4th Cir. 2019), the Fourth Circuit found that the First Step Act

provides explicit permission for a court to modify a sentence. Further, in United States v. Chambers,

956 F.3d 667, 674 (4th Cir. 2020), the Fourth Circuit held that the sentencing factors articulated in

18 U.S.C. § 3553(a) apply in First Step Act cases. The Fourth Circuit further determined that a court

may vary from the Sentencing Guidelines and may consider the defendant’s post-sentencing conduct

in modifying a defendant’s sentence. Id.

       In this case, Defendant possesses one disciplinary action since his incarceration: using the

phone or mail without authority on September 26, 2000. Defendant has submitted a memorandum

from D. Shuler, Defendant’s case manager, which reads:

       Inmate Harriot, since being incarcerated for 21 years, has received only one incident


                                                  4
     3:99-cr-00341-MBS         Date Filed 10/06/21        Entry Number 428       Page 5 of 6




       report during his pre-trial hearing, for Abuse of Phone. During the 21 years, he
       continues to maintain clear conduct, something that is seldom seen in the BOP and
       he continues to program and maintains employment. Even with his language barrier,
       he worked hard to earn his GED during his incarceration.

ECF No. 411-2.

       Defendant currently is 53 years old. He appears to have strong family support, as evidenced

by letters he has submitted from Patrice Keller and Perquita Gaulman. Further, he has taken a

number of classes while incarcerated, including a twelve-hour drug abuse education course that he

completed on July 16, 2021, and, as noted above, earned his GED while incarcerated. He also has

maintained employment while incarcerated. These factors militate in favor of a reduction in sentence

and indicate a reduced risk for recidivism.

       Conversely, as the government notes, Defendant not only was responsible for distributing

marijuana, cocaine, and cocaine base, but he used firearms during and in relation to his drug

activities and used two boys, aged 14 and 15, to facilitate his drug activities. The government also

reiterates that Defendant earned no reduction for acceptance of responsibility and engaged in

obstruction by attempting to escape while detained. These are serious considerations and, in the

court’s view, do not support a sentence of time served.

                                         CONCLUSION

       The court has taken into account the § 3553(a) factors, particularly the nature and

circumstances of the offense and the history and characteristics of the defendant; the need for the

sentence imposed to reflect the seriousness of the offense, to promote respect for the law, and to

provide just punishment for the offense. The court will vary to apply a 1:1 cocaine/cocaine base

ratio, for a total amount of 4,422.6 grams of cocaine (rather than 4,422.6 grams of cocaine base).



                                                 5
      3:99-cr-00341-MBS          Date Filed 10/06/21        Entry Number 428          Page 6 of 6




Utilizing the drug conversion tables set forth in the 2018 Guidelines Manual, as modified by

Amendment 750, Defendant is attributed a marijuana equivalent of 1,687.52 kilograms (4,422.6

grams of cocaine x 200 grams equals 884,520 grams, or 884.52 kilograms of marijuana; plus 803

kilograms of marijuana). Defendant’s base offense level becomes 30, plus a 2-level increase for

possessing a dangerous weapon, plus a 4- level increase for being an organizer or leader, plus a 2-

level increase for using persons less than 18 years of age to distribute illegal narcotics, plus a 2-level

increase for obstruction, for an adjusted base offense level of 40. With a criminal history category

of III, Defendant’s guidelines range is 360 months to life imprisonment.

        The court finds that Defendant’s sentence should be modified as follows: Defendant is

hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total

term of 360 months as to Count One, 60 months as to Count Two, and 24 months as to Count Three,

to be served concurrently, to be followed by a term of supervised release for 8 years as to Count One,

pursuant to 21 U.S.C. § 841(b)(1)(A); 3 years as to Count Two; and 1 year as to Count Three, to be

served concurrently. All other provisions of the judgment entered May 1, 2001, remain in effect.2

        IT IS SO ORDERED.



                                                /s/ Margaret B. Seymour
                                                Senior United States District Judge

Columbia, South Carolina
October 5, 2021



2
 The court is aware that Defendant’s prior drug conviction does not meet the definition of “serious
drug felony” used in the current version of § 841(b)(1)(A) because Defendant served less than one
year and one month of his prior drug sentence. Given the nature of the offense, in particularly the
use of minors, the court is not inclined to further reduce Defendant’s guidelines sentence.

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